Case:17-03283-LTS Doc#:19270-2 Filed:11/16/21 Entered:11/16/21 16:55:50   Desc:
                             Index Page 1 of 8
Case:17-03283-LTS Doc#:19270-2 Filed:11/16/21 Entered:11/16/21 16:55:50   Desc:
                             Index Page 2 of 8
Case:17-03283-LTS Doc#:19270-2 Filed:11/16/21 Entered:11/16/21 16:55:50   Desc:
                             Index Page 3 of 8
Case:17-03283-LTS Doc#:19270-2 Filed:11/16/21 Entered:11/16/21 16:55:50   Desc:
                             Index Page 4 of 8
Case:17-03283-LTS Doc#:19270-2 Filed:11/16/21 Entered:11/16/21 16:55:50   Desc:
                             Index Page 5 of 8
Case:17-03283-LTS Doc#:19270-2 Filed:11/16/21 Entered:11/16/21 16:55:50   Desc:
                             Index Page 6 of 8
Case:17-03283-LTS Doc#:19270-2 Filed:11/16/21 Entered:11/16/21 16:55:50   Desc:
                             Index Page 7 of 8
Case:17-03283-LTS Doc#:19270-2 Filed:11/16/21 Entered:11/16/21 16:55:50   Desc:
                             Index Page 8 of 8
